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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:05CR333
                                           )
              Plaintiff,                   )
                                           )
              vs.                          )                    ORDER
                                           )
FRANCISCO J. MARTINEZ,                     )
                                           )
              Defendant.                   )

       This matter is before the Court on the Defendant’s pro se motion to reduce his

sentence as a result of the recent amendments to the crack cocaine sentencing guidelines

(Filing No. 93).

       The Defendant’s case involved actual methamphetamine and did not involve crack

cocaine. (Filing No. 1.) Therefore,

       IT IS ORDERED that the Defendant’s motion to reduce his sentence as a result of

the recent amendments to the crack cocaine sentencing guidelines (Filing No. 93) is

denied.

       DATED this 1st of April, 2009.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
